           Case 1:22-cr-00053-LY Document 1 Filed 11/12/21 Page 1 of 1


                                                                                         FILED
                                                                                  November 12, 2021
                           UNITED STATES DISTRICT COURT                           CLERK, U.S. DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                               kkc
                                                                               BY: ________________________________
                                                                                                       DEPUTY
SEALED

 UNITED STATES OF AMERICA,                       §
                                                 §
                       Plaintiff.                §
                                                 §
 v.                                              §      CRIMINAL NO. ________________
                                                                       1:21-mj-935-ML
                                                 §
 FRANKLIN BARRETT SECHRIEST,                     §
                                                 §
                       Defendant.                §
                                                 §


                MOTION TO SEAL CASE AND CRIMINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       The United States respectfully requests the Court to seal the case and all documents filed

in this cause, to include the case caption, Criminal Complaint and affidavit in support thereof,

arrest warrant, any attachments, motion to detain, and any additional pleadings, documents, and

orders. Upon Defendant’s arrest or at the time of Defendant=s initial appearance, it is requested

that the case and all documents filed in this cause be immediately unsealed without further order

of the Court.

                                                     Respectfully submitted,

                                                     ASHLEY C. HOFF
                                                     United States Attorney

                                                     /s/ Matthew Devlin
                                      By:
                                                     __________________________________
                                                     MATTHEW DEVLIN
                                                     Assistant United States Attorney
